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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                                 CASE NO. 1:98-cr-00068-MP

ANTHONY DAVIS,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 164, Motion to Continue Revocation Hearing to

allow Mr. Miller, attorney for Mr. Davis, more time to contact the appropriate attorney in Mr.

Davis' state court proceedings. The motion, which is not opposed, is granted. The revocation

hearing is hereby reset for April 25, 2007, at 2:30 p.m.


       DONE AND ORDERED this 26th               day of March, 2007


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
